Pro Se I (Rev. 12/16) Complaint for a Civil Case




                                        UNITED STATES DISTRICT COURT
                                                                      for the                                            FILED
                                                      Eastern District of North Carolina                               SEP 22 2023
                                                                                                                 PETER A. MOORE, JR., CLERK
                                                               Western Division                                   US D I ~ : COURT, EDNC
                                                                                                                BY          11\kDEPCLK



                                                                         )      Case No.    S ! 2- 3- C..V- ooSJ(p-AA
                                                                         )                     (to be filled in by the Clerk's Office)
                         Sheny A. Moore                                  )
                             Plaintiff(s)                                )
(Write the full name ofeach plaintiffwho is filing this complaint.
If the names ofall the plaintiffs cannot fit in the space above,
                                                                         )      Jury Trial: (check one)      D Yes r8J No
please write "see attached" in the space and attach an additional        )
page with the fall list ofnames.)                                        )
                                  -v-                                    )
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                       Holly Hill Hospital                               )
                             Defendant(s}                                )
(Write the full name of each defendant who is being sued ifthe           )
names ofall the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    • needed.
                                Name                                 Sherry A. Moore
                                Street Address                       12500 Garden Tree Lane
                                City and County                      Ralei_gh, Wake County
                                State and Zip Code                   North Carolina, 27614
                                Telephone Number                     919-816-6817
                                E-mail Address                       moore sherry3(myahoo.com




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          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
                     Defendant No. 1
                                Name                          Holly Hill Hospital
                                Job or Title (if known)
                                Street Address                3020 Falstaff Rd
                                City and County               Raleigh, Wake
                                State and Zip Code            North Carolina, 27610
                                Telephone Number              919-250-7000
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                      Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (ifknown)
                                Street Address
                                City and County
                                 State and Zip Code
                                Telephone Number


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                                E-mail Address (if known)


II.       Basis for Jurisdiction

          Federal courts are courts oflimitedjurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                 1?s1 Federal question                             D Diversity of citizenship

           Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                       Title VII of the Civil Rights Act of 1964, Section 704(a)
                       Title VII of the Civil Rights Act of 1964, Section 703(a)
                       Defamation
                       OSHA Act of 1970, 29 USC 651

          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.        The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                , is a citizen of the
                                           State of (name)


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                , is incorporated
                                           under the laws of the State of (name)
                                           and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.          If the defendant is an individual


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                                           The defendant, (name)                                                        , is a citizen of
                                                                     ----------------
                                           the State of (name)                                                       Or is a citizen of
                                            (foreign nation)



                                b.         If the defendant is a corporation
                                           The defendant, (name)      Holly Hill Hospital                           , is incorporated under
                                           the laws of the State of (name)     North Carolina                                 , and has its
                                           principal place of business in the State of (name)      North CaroJina
                                           Or is incorporated under the laws of (foreiRn nation)
                                           and has its principal place of business in (name)

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                  Descrimination, Retaliation, Harassment, Pain and Suffering and Defamation of my character




m.        Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          Started June 1,2022, I notified my director of testing positive for covid and that on the next day 06/2/2022, I will
          be taking a PCR test to confirm. On June 2,2022 she text me asking if I was ok in which I did not respond. That
          same day, she notified the entire office as well as other offices in the same building that I Sherry Moore had
          covid and was insinuating that it was a hoax as I was leaving for vacation aftet the 5 day quarantine
          recommended by CDC guidelines. I was receiving calls and text regarding her spreading my personal
          information around the office. June 20,2022, my director notified my of my time and I asked a question
          regarding my time and that also caused issues where the problem worsened. After I came back from vacation I
          went to HR for her violating my HIP AA rights, June 22,2023. After that and HR spoke with her regarding her
          actions the retaliation, discrimination and defamation immediately started. Please see additional pages for more
          information.




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IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Inc1ude any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          Discrimination: $200,000.00
          Retaliation: $500,000.00
          Harassment: $200,000
          Pain and Suffering: $650,000.00
          Defamation: 300,000.00
          Punitive/Exemplary damages:$6,400,000.00


V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the comp1aint otherwise complies with the
          requirements of Ru1e 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                      Date of s i g n i n g : ~ ~ ,                  C\   \dc}\d,~
                      SignatureofPlaintiff ~~l\.Aet)/l..9-
                      Printed Name of Plaintiff     Sherry A Moore

          B.         For Attorneys

                     Date of signing:


                      Signature of Attorney
                     Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Street Address


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                     State and Zip Code
                     Telephone Number
                     E-mail Address




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Ill. Statement of Claim Continued.


June 23, 2022, I emailed HR subject titled "Retaliation?". I briefly explained how I was getting warned to

"watch y'all backs" due to my direct supervisor having meetings with the CFO defaming my character

and was also quoted as saying "I do not want to seem racist". I expressed I have become a target and

being that I am pregnant the amount of stress can harm my child.


June 27, 2022, HR responded stating that they do not have a policy on how to cover protected employee

information regarding my situation and without a policy they can not hold someone accountable.


07/27/2023, I sent a follow up email stating again I felt targeted. It is to the point where she has my co-

workers, keeping track of me, taking notes on me, and reporting them to my director. On the 26th of July,

an HR representative and I had a meeting with my director where stated that I was being disrespectful

and no longer completing tasks and not acknowledging her whilst doing work. She also fabricated stories

stating that the entire office is coming to her telling her that I am talking about her and even accusing

one person. Later that was found to be a fabricated story and she then had to issue an apology to myself,

and the person accused. The HR representative reported her findings to the HR director. My director

then thought they were taking my side because of the lies they caught her in and asked about them to

where she could not explain. Then it began to get worse.


I started to have panic attacks from the beginning but could not pinpoint it was coming from the job until

I took the vacation and noticed I did not have one during that time and I did not have any during the

weekends when not at work. Only before, during and after work were these attacks taking place. I was

placed on medication due to this to assist in helping me carry my baby full term due to the severity of

the attacks.




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The month of August was the same in sense of my co workers watching me, back and forth trips to HR

and overall stress with creating rules to find a way to defame my character and to find a reason to write

me up as to get me terminated leading up to the write up that occurred 09/26/2022.


September 26,2022 I was called to HR stating that I have been written up for several things. Items such

as I was missing meetings when scheduled by my director when indeed she was cancelling them, and I

have proof ofthat and provided proof to HR which was documented. I was not responding to emails

specifically 08/01/2022 when I provided proof I was out of the office with approved PTO.


08/09/2022 It was stated that I did not respond to email when HR looked at the email, they found that it

was only a mere notification, and no action was required.


08/22/2022 Director reported that I did not respond to email HR founded email where indeed I

responded with documentation proof.


08/30/2022 Director stated I did not respond to email, documentation proof that I did respond to email

and that director read the email 08/30/2022 at 5:28pm.


09/16/2022 Director stated that I did not follow department policy regarding communication with other

departments. I provided an email thread where I previously contact my director for assistance on

09/07/2022 and again on 09/15/2022 and she did not respond until 09/16/2022 regarding the email that

she was requesting.


Along with this I have voice recordings with the meetings with HR and physical documentation of all

items showing she was retaliating against me, defaming my character, and discriminating against me.




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